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                            EXHIBIT 5
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                                                   July 2, 2013

VIA E-MAIL
Bryan F. Aylstock, Esq.
Aylstock, Witkin, Kreis & Overholtz, PLLC
17 Main Street, Suite 200
Pensacola, FL 32502

       RE:       In re: Ethicon, Inc. Pelvic Repair System
                 Products Liability Litigation MDL No. 2327

Dear Bryan:

        I am writing in response to your July 1, 2013 letter to Christy Jones concerning Ethicon’s
June 14, 2013 second supplemental responses to Plaintiffs’ document requests. As we have
explained to you in our previous communications, in the spirit of compromise, we have spent
significant time and effort to revise the responses in a good faith attempt to address the concerns
raised in Plaintiffs’ motion to compel.

        In your letter, you state that the supplemental responses are not acceptable and that you
want to go forward with the hearing on the motion that was drafted with respect to a completely
different set of responses. However, your letter provides no explanation of your position and we
are unclear of what you even expect to raise with the Judge at this point. Accordingly, we don’t
believe that the motion is ripe to be heard and reiterate our numerous requests to discuss with
you what your concerns are with the new responses and to determine whether there are ways that
we can work together to address those concerns. We believe that such a meeting might obviate
the need for judicial intervention or at least narrow the issues in dispute.

        As we have offered several times previously, we would like to sit down with you (or
whomever you designate) in person to go through any remaining differences. We have
exchanged numerous letters on this issue, and we believe it is time to meet and confer in person
regarding these issues. I think both plaintiffs and defendants have an interest in not taking
matters before the court that are not ripe for judicial intervention – both as a matter of fairness to
the parties and in respect of the Judge’s time. We would like to meet no later than Monday, July
8 or Tuesday, July 9. Again, as we have previously offered, we will be willing to come to your
office to do this.




                                            BENJAMIN M. WATSON                   Suite 1400
            Post Office Box 6010                                                 1020 Highland Colony Parkway
                                                   601.985.4551
     Ridgeland, MS 39158-6010                                                    Ridgeland, MS 39157
                                         christy.jones@butlersnow.com
                               T 601.948.5711 • F 601-985-4500 • www.butlersnow.com
                            BUTLER, SNOW, O'MARA, STEVENS & CANNADA, PLLC
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Bryan Aylstock, Esq.
July 2, 2013
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        Thank you for considering this request. We look forward to hearing from you.

                                    Sincerely,

                                    BUTLER, SNOW, O'MARA, STEVENS & CANNADA, PLLC




                                    Benjamin M. Watson

BMW:fsw

cc:     Tom Cartmell
        Renee Baggett
        Christy Jones
        Donna Jacobs


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